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                     EXHIBIT B
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                                  Michael B. First, M.D.
                              1051 Riverside Drive – Unit 60
                                  New York, NY 10032

Phone: 646-774-7935
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December 6, 2018

Re : USA v. Ahmed Mohammed El Gammal, 15 CR. 588 (ER)

Megan Benett
Attorney At Law
Kreindler & Kreindler LLP
750 Third Avenue
New York, NY 10017-2703

Dear Ms. Benett:

Mr. Gammal is a 46-year-old male currently incarcerated at the Metropolitan Corrections
Center in Manhattan and awaiting sentencing, after having been found guilty on January 30,
2017 of intentionally providing material support or resources to a designated foreign terrorist
organization. Pursuant to your request, I have conducted a forensic evaluation of Mr.
Gammal to provide psychological background and context to assist in sentencing.

Sources of Information

    1) Interviews with Mr. Gammal at MCC on August 23, 2016 (3 hours, 30 minutes) and
       October 12, 2018 (3 hours 5 minutes)
    2) MCC Medical records (September 23, 2015-September 12, 2018)
    3) Criminal Complaint (filed August 20, 2015)
    4) Criminal Indictment (filed August 27, 2015)
    5) E-mail exchanges, January 11,2016-June 16, 2016
    6) Facebook Business Records August 14, 2013-January 29, 201


My Qualifications

I am a Professor of Clinical Psychiatry at Columbia University in New York, a Research
Psychiatrist at the New York State Psychiatric Institute, and an attending at New York-
Presbyterian Hospital in New York City. I obtained my undergraduate degree from




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Princeton University in 1978 and my Medical Degree from the University of Pittsburgh
School of Medicine in 1983. My residency in Psychiatry was at the New York State
Psychiatric Institute/Columbia University Department of Psychiatry. I completed a two-
year fellowship in Biometrics Research which is a specialty in the diagnosis and assessment
of psychiatric disorders. I am Board Certified in Psychiatry. In addition to my research and
teaching responsibilities, I maintain a part-time (10-15 hours per week) psychopharmacology
and psychotherapy private practice on the Upper West Side of Manhattan. I was the Editor
of the Diagnostic and Statistical Manual of Mental Disorders, Fourth Edition, Text Revision
(DSM-IV-TR) and the editorial and coding consultant for the current edition, DSM-5. The
DSM is the American Psychiatric Association’s diagnostic manual which provides
scientifically-based definitions of mental disorders and is the diagnostic standard for defining
mental disorders used by mental health professionals, other health care professionals,
administrators, policy makers, lawyers, and judges in the United States and internationally.
The manual is 948 pages in length and provides diagnostic criteria for over 250 mental
disorders that form the basis for the clinical assessment and treatment of mental disorders. I
am the lead author of the Structured Clinical Interview for DSM-5 Disorders (SCID-5) and
the Structured Clinical Interview for DSM-5 Personality Disorders (SCID-PD) which are
assessment instruments useful in both clinical and research settings for making reliable and
valid psychiatric diagnoses. I am also a co-editor of the two volume Psychiatry, 4th edition
textbook.

I have had considerable experience doing forensic evaluations on individuals charged with
terrorism crimes, including Zacarias Moussaoui (charged with conspiracy in the 9/11
attacks), Abdulrahman El Bahnasawy (charged with plotting a terror attack targeting Times
Square and the subway system in New York City), Akayed Ullah (charged with providing
material support to foreign terrorist organization and use of a weapon of mass destruction),
and Akror Saidakhmetov (charged with providing material support to foreign terrorist
organization).

My complete CV is attached.


Background

Mr. Gammal was born in Cairo, Egypt and has one younger sister who has two children and
has lived in Dubai since 2000. His father, an architectural engineer, died in 1998 of cancer.
His mother is a manager of a big insurance company in Cairo. Mr. Gammal brought her to
the US two years before his arrest.

Prior to his arrest and incarceration, Mr. Gammal was living in Phoenix Arizona where he
had been living since 2005. He grew up in Cairo, Egypt where he finished a Bachelor of
Arts degree. He came to the United States in 1997 to attend Cal State Fullerton for a



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Master’s degree in Business Administration. He reported that he decided to come to the US
to get an MBA because he had friends from Egypt who were studying at Cal State Fullerton
and that “a Master’s degree from a school in California is way more prestigious than a
master’s in Egypt.” He reported that he ultimately did not finish his Master’s degree because
“I got busy with life and I got discouraged – things did not go smoothly.” Although his
original plan was for him to earn his degree and go back to Egypt, he decided to stay in the
US after meeting his future wife, whom he met while studying at Fullerton. He reported that
he came to the US on a regular 5-year B1B visa, but that after marrying his wife he became a
citizen (although he denied that this was the reason for marrying her).

Mr. Gammal married Celeste Durboand in 2000 after dating for two years. They got
divorced in 2015. His ex-wife is a behavioral health technician; she is currently working in
an outpatient clinic. He reported that his wife was difficult to live with because she was
suffering from a mental disorder and that he and Celeste separated and re-united around 6 or
7 times during their 15 years of marriage and but remain friends. She continued to live in
Mr. Gammal’s house in Phoenix with her mother. (“After we left for court, we went to
lunch together.”) Mr. Gammal reports that they have been in regular contact since his
incarceration (“She has been very supportive of me – I’m blessed to have her.”).

Mr. Gammal’s work experience has been in the business of sales. His first sales job was at a
Pasadena Ford car dealership where he worked for three years. One of the desk managers
became a manager at a Toyota dealership and recruited him to run the used car lot. During
the 2004 real estate boom, Mr. Gammal started working at Capital One mortgage selling
mortgages and refinancing. After about a year at Capital Once, he moved to Phoenix
Arizona which is where his mother-in-law lived (“You could get a nice big newly built house
in Arizona compared to what you could get in Pasadena. People going there to buy houses
for fun and rent them out”). He worked for Ameriquest (“the number two mortgage
provider”) as a loan officer during the height of the subprime loan boom (2016) for a year
until it was suddenly shut down owing to the mortgage crisis. Mr. Gammal then decided to
start his own business, first by finishing processing the loans he had been working on at
Ameriquest and then going back into car sales, selling used cars obtained from auctions.
According to Mr. Gammal, “the business grew fast—I was very good at it.”. He expanded
the business by adding a body shop and a car dealership. He then got into importing
evaporative coolers from China (“very popular in Arizona”) and then started importing
towing dollies for automobiles. He also made arrangements to import ice machines from
China, and he was expecting three containers of ice machines and auto dollies at the time of
his arrest.

Political Concerns




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Mr. Gammal noted that when he first came to the US, he had “forgot totally what was going
on in Egypt.” When he left Egypt in 1997, “things were normal.” However, when the Arab
Spring started happening in 2011 with the removal of the president of Tunisia, he got very
excited about the possibility of it happening in Egypt as well (“now we can be like the US”).
 He started closely following the Arab Spring every day. (“it grew on Facebook – it grew and
it became a revolution and finally Mubarak left. People in the square were posting on
Facebook I read the newsfeeds – and posting it on my page. I would check my phone all
the time--whenever I was bored I would check my phone. Celeste used to hate that. People
would like what I posted. I was enjoying the likes and the shares. It gave me a feeling that I
was part of it all.” Mr. Gammal reported previously that he had developed a preoccupation
with on-line posting on Google Forum during the 2008 presidential election (“I was pro-
Obama”) but that after the election he stopped posting on-line until the Arab Spring.

Mr. Gammal became especially preoccupied with what was going on Facebook after the
coup by the Egyptian Army in 2013. He proudly reported having over 900 followers of his
postings on Facebook and that at the time he spent over 2 hours a night commenting on
other people’s posts (“In the beginning I was confident that we could defeat the coup.”). In
2013, during his biannual visit to Egypt to see his mother, Mr. Gammal went to Rabat
Square where the protests occurred. (“I was hoping I could be part of history but It was
evacuated.”) He reported that at this point he began to give up on his hopes for Egypt and
then decided that he wanted to get his mother out of Egypt. (she came to the US in 2014.)

Mr. Gammal first became acquainted with Samy El-Goarany from his YouTube channel,
where Samy was considered to be a “personality” with many followers. Mr. El-Goarany was
an Egyptian-American but had never been to Egypt. According to Mr. Gammal, in 2009
Samy posted a video about racism on his YouTube channel which Mr. Gammal felt to be
particularly elegant in its speech but also quite provocative. Mr. Gammal posted Samy’s
video on his own YouTube channel, which resulted in Samy getting a wave of bad reviews
from Mr. Gammal’s followers. The first actual contact between Mt. Gammal and Samy
involved Mr. Gammal sending a message via YouTube to Samy apologizing for the negative
responses from his followers.

Mr. Gammal reported that he contacted Samy again around the time of the Arab Spring to
ask Samy whether he was supporting the Muslim Brotherhood. Samy replied that he was
much more focused on what was going on in Syria, being anti-Assad, but that he did not like
the Muslim Brotherhood, and that right before the coup, he said that they got what they
deserved. However, after the massacre in Rabat Square, his tone was softer and was very
compassionate about what happened.


Religious Background



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Mr. Gammal reports that he was never a practicing Muslim while living in Egypt or since
coming to the United States. Although he would celebrate festivals, he was not praying five
times a day or fasting on Ramadan (“I consider myself a “social Muslim”). Now that he is in
jail, however, he has been practicing Islam with other inmates in order to be less isolated.

Psychiatric History

Prior to his brief interactions with psychologists at MCC, Mr. Gammal has never been
evaluated or treated by a mental health professional. He reports, however, having struggled
with excessive gambling in the years prior to being incarcerated. His first experience with
gambling was when he was working in sales in California, where he was introduced to
gambling by the closer at the car dealership. He and the other sales people would go to the
Las Vegas casinos but later started going to the Commerce Casino in California, which was
only an hour away. Eventually he started going every night by himself, sometimes staying all
night. At that point he felt he had developed a gambling problem, which was one of the
reasons he decided to move to Arizona. Within a year of moving, however, he found a
casino in Arizona, and reported that he was gambling regularly up to the time he was
arrested. Mr. Gammal described his gambling problem and his tendency for risk taking as
follows: “I used to have gambling problem– I would play every day. I was addicted. I liked
the money, I liked the greed. All the people sitting at the table are good at making money
Overall, I ended up losing. That is why I stopped. Even starting my business, I was taking a
risk. They all thought I was crazy. I’m risky in by business dealings as well, like sending
$20,000 to a business prospect I am chatting with whom I didn’t know very well. If you
don’t take the risk – you will always be a slave.”

In 2013, he broke his hip joint in a car accident and was unable to walk for 6 months. He
reported initially being prescribed Percocet and Vicodin (both opioid painkillers) but that
then he started buying them on his own, taking 7-8 pills a day (“in the beginning I took them
as a pain killer but then continued to take them to make me in a good mood and function
better.“) Although he denies ever having had a problem with alcohol, he admits to smoking
two packs of cigarettes a day and drinking 12 to 14 cans of Red Bull a day.

He has had only two interactions with Psychology at MCC. On May 24, 2015, he was seen
by Psychology due to a staff referral who reported that Mr. Gammal’s e-mails stated that he
was depressed. According to the chart note, Mr. El-Gammal denied significant problems
with his mood but stated his main stressors at that time were the fact that his trial was
postponed from June to September/October and that he was frustrated with his attorney,
feeling that she has not been doing what she needs to do. Regarding the emails, Mr. El-
Gamma stated that he was “exaggerating some of the email, saying I am depressed to my
wife for attention." Mental status examination showed neutral mood with a full range of



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appropriate affect. He was offered supportive therapy but denied a need or interest for any
cognitive-behavioral techniques. On November 9, 2017, Mr. El Gammal was again seen by
Psychology due to feelings of sadness regarding incarceration and distance from his support
system. Mental status examination showed dysphoric mood with appropriate range of affect
and expressed having difficulty sleeping and overeating. He was offered cognitive-
behavioral techniques to address insomnia.

When asked about depression, he stated “I do not know what depression is. I usually
thought people who get this stuff are weak. With me, I never had these types of things – I
was always running after something.” He did, however, admit to having a strong tendency
to worry about things. (“I am a worried person – I am always worried – I have an itch I
have a habit of shaking my leg every time when I make a car deal –I like things to be done
perfectly. I cannot relax. I am always doing something.”

Impression

In the 24 years since Mr. El Gammal come to the United States, he became thoroughly
Americanized, trying to live the American dream. Religion has played a minor role in his
life, being a social Muslim whose connection with Islam is more social than anything else.
Like many of us, he has strong political opinions which he enjoys expressing on social
media, as he did during the 2008 Presidential election of Obama, as well as during the
unfolding of the Arab Spring. His preoccupation with the social media during the Arab
Spring was his way of continuing to feel involved in Egyptian events and to express his
hopes for the establishment of a democracy in Egypt, following the model of the United
States. He clearly derived both excitement and satisfaction by feeling that he was
participating in the process in a meaningful way through his posting on Facebook, which
were validated by the large number of followers of his postings.

From a psychiatric perspective, there is no evidence that he has ever suffered from a major
mental disorder although he has Gambling Disorder and has an addiction to opioids and
tobacco. He does have a number of potentially maladaptive personality traits, such as his
craving for excitement and his tendency to act impulsively without taking into consideration
potential negative consequences, as evidenced by his ongoing struggles to control his
gambling behavior, which may have contributed to his engaging in the behavior for which he
was convicted.

It is notable how different Mr. Gammal’s profile is from the typical individual who has
become affected by the pull of radical Islam. These individuals tend to be much younger (in
their 20’s), are strong rigid adherence to the beliefs and practices of Islam, have trouble
adapting to the demands of life in the United States, feel unmoored in their lives and thus
are susceptible to the call for action by the proponents of radical Islam. In contrast, Mr.



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Gammal has made a stable and successful life for himself in the United States, with a
thriving business, strong family support, and no more than a cultural interest in the practice
of Islam, and thus do not at all fit the typical profile.


Please notify me if you have additional information about this matter that you wish for me
to consider.

Very truly yours,




Michael B. First., M.D.
Diplomate, Psychiatry, American Board of Psychiatry & Neurology
Professor of Clinical Psychiatry, Columbia University College of Physicians and Surgeons




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